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           EXHIBIT A
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STATE OF MINNESOTA
COMMITMENT APPEAL PANEL

COUNTY OF DAKOTA
Appeal Panel File No.: AP21-9015
Dakota County File No.: 19HA-PR-10-32


    In the Matter of the Civil Commitment of:          FINDINGS AND ORDER SETTING AN
                                                          EVIDENTIARY HEARING ON
    Steven Loren Edwards.                                        CONTEMPT




          This matter came on for hearing before the Panel on a Motion for Contempt filed August

22, 2022. The Commissioner field a response to the motion on September 23, 2022, and the

matter was set for hearing on October 10, 2022. The hearing was held from the Hennepin

County Government Center, in Minneapolis Minnesota. The Panel was composed of the Hon.

Jay M. Quam, the Hon. Gail Chang Bohr, and the Hon. Lawrence Clark.

          The following remote appearances 1 were made at the hearing on October 10, 2022:

                 Steven Edwards, movant
                 Daniel Kufus, counsel for Mr. Edwards
                 Leonard Schweich, Asst Atty General and counsel for the Commissioner
                 Jessica Bierwerth, Asst Dakota County Attorney




1
  All appearances were remote pursuant to a Minnesota Supreme Court Administrative Order. See
Continuing Operations of the Minnesota Judicial Branch, No. ADM 20-8001 (Minn. filed April 19, 2022)
(providing that “The panel may conduct any proceedings or hearings using remote technology.”) The Chief
Judge was in the courtroom in Minneapolis. All others, including two Panel Judges, were remote via
ITV/Zoom.
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Also in attendance at the hearing were Sarah Steenhoek, Department of Human Services (DHS)

counsel, and Nancy Johnston, Executive Director of the Minnesota Sex Offender Program

(MSOP).

       Based on the motion and response filed, the arguments of counsel, the affidavits on file,

and the file, records, and proceedings thus far, the Panel make the following:



                                          FINDINGS OF FACT


       1. A strong prima facie showing of contempt has been made for failure to transfer in

           accordance with the Panel Order dated March 23, 2022. There is no factual dispute

           that Mr. Edwards has not transferred and remains in the secure perimeter at the

           Minnesota Sex Offender Program (MSOP).


       2. The Panel Order dated March 23, 2022, granted Mr. Edwards’ petition for transfer

           and stayed the Panel Order for 15 days, pursuant to Minn. Stat. § 253D.28, subd. 3.

           The Panel Order further stated that “The transfer shall occur within a reasonable time

           after the expiration of the statutory stay.”


       3. It has now been 219 days since the expiration of the statutory stay.


       4. The Panel does not lose sight of the fact that, in this matter, Mr. Edwards initially

           petitioned for a reduction in custody on January 26, 2020, over two and a half years

           ago. The Special Review Board recommended granting transfer on January 14, 2021,

           over one and a half years ago. The Order for Transfer was issued on March 23, 2022.

           Nevertheless, Mr. Edwards still sits behind the razor wire at MSOP, with no

           anticipated transfer date communicated to him. After all this time Mr. Edwards could
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            justifiably believe the reduction in custody he worked so hard toward is essentially

            meaningless.


        5. The Panel finds that the requirements for contempt are satisfied. See Mower Cty.

            Human Servs. on Behalf of Swancutt v. Swancutt, 551 N.W.2d 219, 223 (Minn. 1996)

            (citing Hopp v. Hopp, 156 N.W.2d 212, 216–17 (Minn. 1968)).


                a. The Panel finds that the Panel, as the ordering court, had jurisdiction and

                    subject matter over the person.


                b. The Panel finds that the March 23, 2022, Order for Transfer clearly defined

                    the acts to be performed by the Commissioner. 2


                c. The Commissioner is a party to these proceedings.


                d. The Commissioner had notice of the Panel’s March 23, 2022, Order for

                    Transfer and a reasonable time within which to comply. Given the interests at

                    stake, (90) days at most is a reasonable time.


                e. Mr. Edwards was adversely affected by failure to comply with the March 23,

                    2022 Order for Transfer and has applied to the court for aid in compelling

                    performance giving specific grounds for the complaint, namely that the



2
  The Commissioner was aware of the obligation to transfer Mr. Edwards to CPS within a reasonable
time. This matter is not akin to Mr. Streak, Inc. v. Sandquist Steaks, Inc., 245 N.W.2d 837, 838 (Minn.
1976), wherein a court order merely acknowledged the parties’ privately negotiated breach of contract
compromise and was not sufficiently directive to support contempt proceedings. In this matter
specifically the Commissioner had asked the Panel to reconsider and remove the directive that transfer
“shall occur within a reasonable time.” The Panel declined by Order dated May 26, 2022.
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            Commissioner has filed to transfer Mr. Edwards to Community Preparation

            Services (CPS) as ordered.


6. The Panel shall set this matter for an Evidentiary Hearing on the motion for contempt

   for failure to transfer Mr. Edwards pursuant to the March 23, 2022, Order for

   Transfer, so that the party charged with nonperformance will be given an opportunity

   to show compliance or inability to comply despite a good faith effort.


7. The Evidentiary Hearing shall take place on a date and time scheduled by the Clerk of

   Appellate Court’s Office. Pending the Evidentiary Hearing, the Commissioner

   through counsel shall inform the Panel as to the status of the transfer as ordered

   below.


8. Although the Commissioner points to the Legislature as the roadblock to transfer and

   has made attempts to secure additional Legislative funding, the Commissioner is a

   party to the proceedings and statutorily required to effectuate the reduction in

   custody. Unlike prior contempt motions, the Commissioner is making more efforts to

   reduce the waitlist for transfer, but by their own admission these efforts will be

   insufficient to eliminate the waitlist for transfer.


9. There are currently only 139 transfer beds available, which are all filled. Based on

   the availability of beds and the current staffing levels, there are at least 24 clients

   awaiting transfer to CPS, which directly impacts clients’ ability to remain motivated

   for treatment and move successfully toward provisional discharge. Mr. Edwards is

   7th on the waiting list for transfer. Even once full staffing is achieved and all beds are
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            open, there will still be at minimum four (4) MSOP clients on the waiting list for

            transfer to CPS.


       10. Whether good faith efforts were made will inform the Panel’s determination as to

            what sanction is necessary to secure compliance with the Order. See Hopp, supra, at

            173. The burden of proving good faith efforts and the inability to comply is on the

            Commissioner, not a threshold showing to be made by the civilly committed client

            with a valid transfer order in hand. Id. at 175. Accord Schubel v. Schubel, 584

            N.W.2d 434, 436 (Minn. Ct. App. 1998) (“At the second stage of contempt

            proceedings, the contemnor has the opportunity to show compliance or a good faith

            effort to comply when contempt was first adjudicated.”) (citing Mahady v. Mahady,

            448 N.W.2d 888, 891 (Minn. Ct. App. 1989)).


       Based on the above Findings of Fact, the Panel makes the following Order:


       IT IS HEREBY ORDERED:


       1.      That an Evidentiary Hearing on the Motion for Contempt (Second Stage

Contempt Hearing) shall be held on a date and time scheduled by the Clerk of Appellate Court’s

Office. The Clerk of Appellate Court’s Office shall hold a scheduling conference and set the

matter for hearing before a Panel consisting of the Hon. Jay Quam, the Hon. Gail Chang Bohr,

and the Hon. Lawrence Clark.


       2.      The Commissioner through counsel shall file status updates with the Panel on the

following schedule, indicating the progress made on transferring Mr. Edwards to CPS. The

updates shall consist of a signed affidavit by the Commissioner, a Deputy Commissioner, or the
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MSOP Executive Director as to the anticipated date of transfer for Mr. Edwards, including the

status of staffing for the additional 20 beds and any other impediments to the transfer. Counsel

shall file the status updates on the following dates:


            a. November 14, 2022

            b. November 28, 2022

            c. December 12, 2022

            d. December 27, 2022

            e. January 9, 2023

            f. And every two weeks thereafter until the Evidentiary Hearing is held.


       3.      Failure to comply with this order may result in additional sanctions.


                                                        BY THE PANEL:




                                                        _____________________________
                                                        Hon. Jay M. Quam
                                                        Judge of District Court and Panel Chief




                                                        _____________________________
                                                        Hon. Lawrence Clark
                                                        Senior Judge of District Court
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           EXHIBIT B
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STATE OF MINNESOTA                                        COMMITMENT APPEAL PANEL
COUNTY OF RAMSEY


                                                              Appeal Panel File No. AP19-9153
                                                             County File No. 62-MN-PR-06-267
In the Matter of the Civil Commitment of:

Al Stone Folson.                                                     CONTEMPT ORDER




       The matter came before the Commitment Appeal Panel at the Dakota County Northern

Service Center, West St. Paul, Minnesota, upon a motion for contempt filed February 22, 2021,

for failure to comply with the Panel Order for Transfer dated April 10, 2020. The Panel heard

the matter concerning contempt by remote hearing on May 14, 2021, and September 29, 2021.

At the hearings, the following appearances were made:

       Al Stone Folson, Petitioner
       Richard Mattox, counsel for Petitioner
       Aaron Winter, Assistant Attorney General, counsel for Commissioner of Human Services
       Margaret Galvin, Assistant County Attorney, counsel for Ramsey County

       At the motion hearing on May 14, 2021, the Commissioner asked the Panel to forgo

making a finding of contempt and setting purge conditions and requested instead that the matter

be set for an evidentiary hearing.

       At the evidentiary hearing on September 29, 2021, the Commissioner called one witness

to testify, Nancy Johnston, Executive Director of the Minnesota Sex Offender Program (MSOP).

The Commissioner did not appear personally. The Commissioner offered two exhibits: Exhibit 1

– a Satellite view of St. Peter Regional Treatment Center and Exhibit 2 – State of Minnesota
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2022 Preliminary Capital Budget Requests Human Services Projects Summary and Project

Narrative. Exhibits 1 and 2 were received by the Panel.

       At the close of the September 29, 2021, hearing, the parties asked for a briefing schedule,

with final submissions due November 19, 2021. The Panel received the Commissioner’s

Supplemental Response to Notice of Motion and Motion filed on October 29, 2021, and the

Petitioner’s Motion for Contempt of Court Response filed on November 5, 2021.

       The Panel had previously received the Commissioner’s Response to the Notice of Motion

and Motion for Contempt of Court, the Declaration of Aaron Winter o/b/o the Commissioner of

Human Services, and the Declaration of Nancy Johnston, filed on April 30, 2021. The Panel also

received correspondence regarding Supplemental Authority Regarding Motion for Contempt, an

unpublished opinion filed by the Commissioner on August 5, 2021. See Ricky Lee McDeid,

Appellant (A21-0042), Shane P. Garry, Appellant (A21-0043), v. Nancy Johnston, CEO/Dir.,

Minnesota Sex Offender Program, et al., Respondents, 2021 WL 3277218 (Minn. App. Aug. 2,

2021) (unpublished) (certiorari granted Oct. 27, 2021).

       Based upon the Panel’s April 2020 Order for Transfer, the motion for contempt filed

February 2021, the evidence adduced, the arguments and submissions of counsel, and the entire

file, records, and proceedings in this matter, the Panel makes the following:

                                 FINDINGS OF CONTEMPT

Order for Transfer

   1. The Commitment Appeal Panel issued a Findings of Fact, Conclusions of Law, and Order

       for Transfer dated April 10, 2020, and docketed April 13, 2020 (“April 2020 Order for

       Transfer”) finding that Petitioner satisfied the statutory criteria for a transfer and ordered

       that Petitioner receive the reduction in custody as provided for by statute.



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   2. The April 2020 Order for Transfer ordered that “Petitioner’s petition for transfer to

       Community Preparation Services (CPS) is hereby GRANTED. The entry of this order

       granting Petitioner’s petition for transfer to a less restrictive facility is hereby STAYED

       for 15 days, pursuant to Minn. Stat. § 253D.28, subd. 3.”

   3. In the April 2020 Order for Transfer, the Panel noted that the statute does not require

       transfer to CPS per se, but that CPS was on the only transfer option that the Department of

       Human Services (DHS) has created for those civilly committed to MSOP as Sexually

       Dangerous Persons (SDP) and/or Sexual Psychopathic Personalities (SPP), such as

       Petitioner. See Commitment of Ince, 847 N.W.2d 13, 28 (Minn. 2014) (Justice Page,

       concurring) (recognizing that DHS has chosen to make MSOP the only option available

       for those indeterminately civilly committed as SDP and/or SPP).

   4. By its express terms and in accordance with the statute, the Panel’s April 2020 Order for

       Transfer became a final order on April 28, 2020. See Minn. Stat. § 253B.19, subd. 3.

Reasonable time to comply with the Order for Transfer

   5. It is reasonable that the Panel’s April 2020 Order for Transfer would have been effectuated

       within 90 days of the effective date of the Order for Transfer, which would have provided

       the Commissioner 105 days to effectuate the transfer.

   6. At present, 611 days have passed since the April 2020 Order for Transfer became effective

       and the Commissioner has not complied with the April 2020 Order for Transfer. There is

       no factual dispute that Petitioner has not been transferred to CPS or its equivalent and that

       he remains inside the secure perimeter of MSOP.

   7. At present, the Commissioner has not provided Petitioner a specific date when the transfer

       to CPS is anticipated. Nancy Johnston, MSOP Executive Director, testified that MSOP



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        anticipates opening another 20 CPS beds no later than January 1, 2022, and that they

        anticipate another 79 beds will be habitable in a renovated Bartlett Hall by April 2022, but

        Ms. Johnston made no assurances that Petitioner would be transferred even by April 2022,

        two years after the April 2020 Order for Transfer.

Lack of good faith efforts to comply with the Order for Transfer

    8. The only good faith efforts toward transfer proffered by the Commissioner and the MSOP

        Executive Director were that bonding requests were made by the Governor to the

        Legislature in 2016, 2017, 2018, 2019, 2020, and 2021. Meanwhile, Petitioner’s life, and

        the lives of 55+ additional clients, have been on pause for two years or more. The only

        thing that has changed for them since their respective orders for transfer is that their names

        were added to a waiting list. The Commissioner’s failure to transfer has rendered these

        clients, who were statutorily entitled to a reduction in custody, unable to progress toward

        community placement. For Petitioner, this means his initial petition for a reduction in

        custody from 2018 is still in limbo after five years, even after the Special Review Board

        recommended granting transfer in October 2019 and the Panel granted transfer in April

        2020.

    9. MSOP indicated that it intends to transfer Petitioner to CPS when a bed become available

        for him in accordance with his place on the waiting list. 1

    10. There is no other situation known to the Panel where a party gets to decide when they will

        comply with a court order. The April 2020 Order for Transfer was not vague or unclear.




1
  The District Court also noted the Commissioner’s attempt to read the words “when a bed becomes available” into
the Panel Order. See The Hon. Leslie Ott Marek’s Ramsey County District Court Order Dismissing Petition for
Writ of Mandemus in Folson v. Johnston, 62-CV-20-5770 (Mar. 1, 2021) (finding the Commissioner’s arguments
unreasonable and unpersuasive and would vest the Commissioner with unfettered discretion over when, if ever, to
transfer a client).

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   The April 2020 Order for Transfer was not confusing. The Commissioner made no request

   for clarification of the April 2020 Order for Transfer. The Commissioner provided no

   communication to the Panel that the April 2020 Order for Transfer would not be followed

   and the reasons therefor until the contempt motion was filed. It was left to the Petitioner,

   a civilly committed individual within the custody and control of the Commissioner, who

   had a valid court order for a reduction in custody in hand, to bring a motion for contempt

   to vindicate his rights.

Contempt findings regarding the Order for Transfer

11. The Panel, as the ordering court, had jurisdiction and subject matter over the person.

12. The Panel’s April 2020 Order for Transfer clearly defined the acts to be performed by a

   party to the proceedings.

13. The Commissioner is a party to these proceedings.

14. The Commissioner had notice of the Panel’s April 2020 Order for Transfer and a

   reasonable time within which to comply. As stated before, 90 days at most was a

   reasonable time within which to comply. The Commissioner is making no argument that

   two years or more is a reasonable time.

15. The Petitioner was adversely affected by the failure to comply with the April 2020 Order

   for Transfer and has applied to the court for aid in compelling performance giving specific

   grounds for the complaint, namely that the Commissioner and the MSOP Executive

   Director have failed to transfer Petitioner to CPS.




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    16. That upon due notice a hearing was conducted and at such hearing the party charged with

         nonperformance was given an opportunity to show compliance or the reason for the failure

         to comply. This hearing took place on September 29, 2021. 2

    17. The Panel is hereby determining formally that there was a failure to comply with the April

         2020 Order for Transfer. The Commissioner and the MSOP Executive Director have the

         ability to comply and are not being compelled to do something they are wholly unable to

         do.

    Bad faith in failure to comply with the Order for Transfer

    18. The Panel finds bad faith on the part of the Commissioner and the MSOP Executive

         Director in failing to transfer Petitioner to CPS. The Commissioner and the MSOP

         Executive Director have exhibited a brazen disregard for the statutory civil commitment

         process, evident from the initial hearing where the client rightfully expressed concern that

         the reduction is custody, even if ordered, was not going to occur. Once the April 2020

         Order for Transfer was issued, the Commissioner and the MSOP Executive Director made

         no efforts, aside from annual bonding requests, to effectuate transfer, essentially ignoring

         the Panel’s Order.

    19. The Panel noted in the April 2020 Order for Transfer that the “Panel’s transfer order

         becomes effective 15 days after the statutorily prescribed stay.” Additionally, the Panel

         warned DHS in the April 2020 Order for Transfer that “DHS cannot merely assume the

         failure of the Legislature to appropriate new funds somehow obviates its obligation to

         follow court orders for transfer.” Furthermore, in the April 2020 Order for Transfer, the



2
  The evidentiary hearing in this matter was originally set for August 9, 2021. Due to a failure to docket the order as
signed on May 24, 2021, until July 27, 2021, the matter was reset for September 29, 2021, the only date the
Commissioner was available, providing ample notice and opportunity for the Commissioner to be heard.

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   Panel found that DHS’s “lack of candor with the Panel as to the situation at CPS was deeply

   concerning.”

20. It is apparent that the Commissioner and the MSOP Executive Director do not intend to

   follow the statute and the Panel’s April 2020 Transfer Order and contempt is necessary to

   secure compliance with the Panel’s Order to vindicate Petitioner’s rights. See Hopp v.

   Hopp, 156 N.W.2d 212, 214 (Minn. 1968) (explaining that the purpose of civil contempt

   is to “make the rights of one individual as against another meaningful” so that court orders

   are not “an exercise in futility”).

21. DHS’s failure to transfer is resulting in de facto incarceration and is close to rendering the

   entire statutory civil commitment structure as applied a “sham.” See Foucha v. Louisiana,

   504 U.S. 71, 115 (1992) (“Foucha has not argued that the State's procedures, as applied, are

   a sham. This would be a different case if Foucha had established that the statutory

   mechanisms for release were nothing more than window dressing, and that the State in fact

   confined [civilly committed individuals] indefinitely without meaningful opportunity for

   review and release.”)

22. That transfer shall occur within a reasonable time frame was not a suggestion or an

   authorization that it is now okay for the Commissioner to someday comply with the Panel’s

   Order granting a reduction in custody.

23. The Commissioner’s argument that the Panel’s authority is limited to merely telling DHS

   that the Commissioner and the MSOP Executive Director now have full discretion to

   determine when to transfer a client is absurd and harkens back to other matters where the

   Commissioner and MSOP Executive Director have attempted to circumvent the reduction

   in custody process. See Matter of Civil Commitment of Kropp, 895 N.W.2d 647, 652



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   (Minn. App. 2017) (prohibiting the MSOP Executive Director from unilaterally preventing

   provisional discharge despite the Panel’s grant and providing that the Panel may grant a

   reduction in custody even to a “nonexistent placement”). The failure to transfer as provided

   for by statute implicates not only Petitioner’s liberty interests but also undermines the

   constitutionality and validity of the entire indeterminate civil commitment process.

24. If the Commissioner’s interpretation of its obligation under the statute and the Panel’s

   Order for Transfer is correct, the entire constitutionality of the indeterminate civil

   commitment would be suspect. Transfer to an open facility is a statutory provision

   specifically enumerated by the Minnesota Supreme Court as essential to constitutional due

   process. See Call v. Gomez, 535 N.W.2d 312, 318-19 (Minn. 1995). See also In re

   Blodgett, 510 N.W.2d 910, 916 (Minn. 1994) (holding that “once a person is committed,

   his or her due process rights are protected through procedural safeguards that include…the

   opportunity to petition for transfer to an open hospital”).

25. The Panel process and the ability to transfer to a less secure facility were among the

   “extensive process and protections” that allowed the Minnesota civil commitment structure

   to withstand facial and as-applied challenges in federal court. See Karsjens v. Piper, 845

   F.3d 394, 410-11 (8th Cir. 2017) (discussing the Minnesota Supreme Court’s due process

   analysis in Call and Blodgett).

26. The Panel is duty bound to give meaningful effect to the civil commitment statute. There

   are times when, after full and meaningful consideration, the Panel denies a petition for a

   reduction in custody as statutorily not met. When, after full consideration, the Panel grants

   transfer, that order for transfer must be meaningful.




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Contempt is necessary regarding the Order for Transfer

27. The Commissioner and the MSOP Executive Director are in contempt for failure to comply

   with the April 2020 Order for Transfer.

28. The Commissioner and the MSOP Executive Director have the ability to purge the

   contempt by transferring Petitioner to CPS or an equivalent reduction in custody within 90

   days of the date of this order.

29. The Panel is not considering the issues of a right to treatment as raised in argument. The

   motion was for contempt of court for failure to transfer pursuant to the April 2020 Order

   for Transfer. The questions by the Panel and the arguments from Petitioner’s counsel

   concerning other treatment options pending transfer are relevant to demonstrate the

   multiplicity of options that the Commissioner could have done to attempt to comply or to

   demonstrate any willingness to comply with the April 2020 Order for Transfer. See, e.g.,

   Plankers v. Plankers, 175 Minn. 57, 59 (Minn. 1928) (“Defendant would have stood in a

   more favorable light had he shown a willingness to make any payments-even for a reduced

   amount. He did not do so.”).

30. The Commissioner and the MSOP Executive Director acknowledge that the only option

   they were willing to explore in the nearly two years since the April 2020 Order for Transfer

   was issued was to seek bonding from the Legislature, which was denied year after year

   after year, and then only insufficiently provided. Although sympathetic to the lack of

   funding, the Panel views the statutory language and the Commissioner and the MSOP

   Executive Director’s obligations in light of the statute enacted. See In re Welfare of J.B.,

   782 N.W.2d 535, 548 (Minn. 2010) (expressing sympathy yet finding contempt appropriate




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   for failure to obey a lawful order in light of the statutory structure enacted by the

   Legislature, even if that structure was underfunded).

31. This contempt order is necessary to vindicate Petitioner’s statutory right and ultimately his

   constitutional right for a reduction in custody.        The Commissioner and the MSOP

   Executive Director have the ability to comply with the Order for Transfer, the ability to

   meet the purge conditions (to transfer to CPS or its equivalent within 90 days), and the

   order thus far is reasonably likely to produce compliance for Petitioner. See Zanzibar v.

   Rodriquez, 819 N.W.2d 187 (Minn. App. 2012). See also Mower Cty. Human Servs. on

   Behalf of Swancutt v. Swancutt, 551 N.W.2d 219, 223-24 (Minn. 1996) (providing that,

   after the requirements of Hopp have been met, additional hearings on nonperformance may

   be held to determine whether conditional confinement is reasonably likely to produce

   compliance fully or in part.).

Conclusion of contempt and setting a purge condition

32. The Panel concludes that the Commissioner of Human Services and the MSOP Executive

   Director are in contempt of court for failure to transfer Petitioner to a reduction in custody.

33. The Panel orders that the Commissioner of Human Services and the MSOP Executive

   Director transfer Petitioner either to MSOP’s Community Preparation Services (CPS) or

   an equivalent, within 90 days of the date of this Order. It is not the Panel’s concern whether

   transferring Petitioner at this moment to CPS would mean “leap frogging” another client

   who has been on the waiting list longer in time. The Panel can only address the individual

   matter before it.




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              Based on the above Findings of Contempt, the Panel makes the following Order:

                                            ORDER

      1. That the Commissioner of Human Services and the MSOP Executive Director are in

          civil contempt for failure to comply with the April 2020 Order for Transfer.

      2. That the Commissioner of Human Services and the MSOP Executive Director may

          purge the contempt by transferring Al Stone Folson to MSOP’s Community

          Preparation Services (CPS) or an equivalent reduction in custody within 90 days of the

          date of this order.

Dated: December 2, 2021                        BY THE PANEL:




                                                ____________________
                                                Hon. Karen Asphaug
                                                Senior Judge of District Court




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            EXHIBIT C
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STATE OF MINNESOTA                                                    COMMITMENT APPEAL PANEL

COUNTY OF BENTON


                                                                       Appeal Panel File No. AP19-9091
                                                                       County File No.: 05-PR-14-1080
In the Matter of the Civil Commitment of:
                                                                   ORDER AND MEMORANDUM
       Kerry Mitchell Lenz.

_______________________________________


          The above-entitled matter came on for hearing on April 17, 2020, before the Commitment

  Appeal Panel at the Dakota County Judicial Center in Hastings, Minnesota. Kerry Mitchell Lenz,

  hereafter Petitioner, appeared and was represented by Jennifer Thon, Esq. Assistants Attorney

  General Roger Yang and Scott Ikeda appeared for the Commissioner of Human Services. There

  was no appearance by Benton County. The matter was scheduled as a full day 1 hearing on

  Petitioner’s petition for provisional discharge and discharge from the civil commitment.

          The matter was heard by the Panel on December 13, 2019, as a “part 1” hearing.

  Petitioner’s exhibits 100-101 and 103-108 were received. Petitioner’s exhibit 102 was not

  received. The Panel heard testimony from Dr. Andrea Lovett, Dr. Mallory Obermire, and

  Petitioner.

          On April 17, 2020, the “part 2” hearing was held. Counsel, Petitioner, the court appointed

  examiner, and all witnesses appeared by ITV. 2 The Panel received Petitioner’s exhibits 109-112.


  1
   Also heard on April 17, 2020, was Petitioner’s motion for an order to show cause for failure to transfer to
  Community Preparation Services (CPS). The Panel granted transfer to CPS by Order dated January 28,
  2018. The Order for transfer became effective 15 days later.
  2
   At the time of the “part 2” hearing, the Panel proceedings were governed by Minnesota Supreme Court
  Order issued April 9, 2020, due to the covid-19 pandemic. See Continuing Operations of the Minnesota
  Judicial Branch Under Emergency Executive Order No. 20-33, No. ADM20-8001 (Minn. Filed April 9,
  2020). The Supreme Court suspended the Rules to allow for appearances by ITV or other electronic means.
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The Panel also received Commissioner’s Exhibits 1-8, 9 (pages 1-5 only), 10, 14-20, and 22-23.

Commissioner’s Exhibits 11, 12, and 13 were not received. The Panel received portions of Exhibit

21, striking from the record certain pages including pages 24, 31, 62, 54, 56, and 75, as well as all

other pages of exhibits offered by the Commissioner containing an incorrect client identification

number, and thereby not pertaining to Petitioner. The Panel heard testimony from Christopher

Schiffer, Dr. Mallory Obermire, and Dr. Andrea Lovett.

       At the conclusion of the hearing, the Panel provided an opportunity for counsel to make

written closing arguments.      The written arguments were received from Petitioner and the

Commissioner on May 18, 2020.

       Based upon the evidence adduced at the December 13, 2019, and the April 17, 2020, Panel

hearings, the arguments of counsel, and the file, records, and proceedings, the Court makes the

following:



                                              ORDER

   1. Petitioner’s petition for provisional discharge and discharge from the civil commitment is

       DENIED.

   2. The following Memorandum is incorporated as the Court's Findings of Fact and

       Conclusions of Law.




Id. One Panel Judge appeared remotely. The two other Panel Judges and the official court reporter heard
the matter from the courthouse in Hastings.
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                                       MEMORANDUM


  I.   Procedural history

       Petitioner was indeterminately committed as a Sexually Dangerous Person and Sexual

Psychopathic Personality by final order dated May 8, 2015. On July 26, 2018, Petitioner

petitioned for provisional discharge and discharge from the civil commitment. A hearing was

held before the Special Review Board (SRB) on May 14, 2019. On June 13, 2019, the SRB

issued its findings and recommendation to deny the petition. On July 1, 2019, Petitioner

petitioned for rehearing by the Commitment Appeal Panel. The Panel hearing was held on

December 13, 2019, and April 17, 2020.

 II.   Legal Standard for Provisional Discharge and Discharge

       The burden was on the Commissioner to demonstrate by clear and convincing evidence

that provisional discharge and discharge from the civil commitment is not appropriate according

to the statutory factors. Minn. Stat. §253D.28, subd. 2(d).

       Under Minnesota law, to be eligible for provisional discharge, the committed person must

be capable of making an acceptable adjustment to open society. Minn. Stat. § 253D.30 subd.

1(a). In making this determination the Panel considers (1) whether the committed person's

course of treatment and present mental status indicate there is no longer a need for treatment and

supervision in the current treatment setting and (2) whether the conditions of the provisional

discharge plan will provide a reasonable degree of protection to the public and will enable the

committed person to adjust successfully to the community. Minn. Stat. § 253D.30 subd. 1(b).

       Under Minnesota law, to be eligible for discharge, there must be a showing that the

committed person is “capable of making an acceptable adjustment to open society, is no longer

dangerous to the public, and is no longer in need of inpatient treatment and supervision.” Minn.

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Stat. § 253D.31 (2013). The Panel must consider “whether specific conditions exist to provide a

reasonable degree of protection to the public and to assist the committed person in adjusting to

the community. Id. The discharge statute is to be construed in accordance with Constitutional

due process concerns. See Matter of Opiacha, No. A19-1693, 2020 WL 1845253, at *5 (Minn.

Ct. App. Apr. 13, 2020) (explaining that the Panel must grant discharge if the individual is

entitled to discharge under the statute or under the due process clause). 3

III.       Background for the Evidence Presented

          Petitioner is currently in Phase II of the three phase treatment program at the Minnesota

Sex Offender Program (MSOP). Petitioner was granted transfer to MSOP’s Community

Preparation Services (CPS) in January 2018. Petitioner was not yet transferred to CPS. 4

          Dr. Andrea Lovett, Ph.D., LP, was appointed court examiner in this matter. Dr. Lovett

opined that provisional discharge and discharge cannot presently be accomplished while also

providing for the public safety. However, Dr. Lovett’s November 26, 2019, report also

indicated:

          The undersigned recognizes that the Appellant’s transfer to CPS was approved almost
          two years ago, yet he remains inside the secure perimeter due bed space issues. Put
          simply, he would be “stuck inside the razor wire” even if his treatment progress was
          exemplary. One can reasonably argue that this situation is patently unfair to Mr. Lenz and
          other MSOP clients awaiting placement at CPS.

The Panel agrees with Dr. Lovett that the present situation is “patently unfair” and is not

anticipated by the statutory structure that provides for the civil commitment.




3
    Petitioner reserved any constitutional rights connected with his motion for contempt.
4
  Petitioner was granted transfer to CPS in January 2018. That was over two years ago. CPS is the only
least restrictive facility offered as a reduction in custody by the Commissioner for clients in the MSOP
program.


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        The failure to transfer as court ordered has denied Petitioner two years of treatment in a

more appropriate setting that could have prepared him for provisional discharge and discharge.

Although one cannot know for sure what would have happened if he had transferred as ordered,

the Panel does know what happened when he did not transfer. Nothing changed for him.

Everything about his treatment and supervision remained the same. He was deprived of the

treatment opportunities and liberties of CPS. He was offered no deinstitutionalization

opportunities, even those afforded by living in a less institutional setting. He was denied the

therapeutic milieu at CPS and denied the treatment indicated per the Risk Needs Responsivity

(RNR) model of risk reduction utilized by MSOP.

        Despite this situation, Petitioner continued to participate in treatment, work, and

appropriate recreational activities. He did not start acting out and receiving major Behavioral

Expectation reports (BERs) for breaking institutional rules. He passed a maintenance polygraph

concerning his masturbation fantasies (no deception indicated). He continued to present as

motivated for treatment and continued to receive positive matrix scores from his treatment

providers. His 2019 Annual Treatment Report provided matrix ratings in all action areas of

“Satisfactory” or “Enhanced” and even one “Proficient.” There were no treatment areas that

rated as “Needs Attention.” Despite the unfairness of the present situation, Petitioner continued

to be actively involved in treatment and continued to make satisfactory progress in the MSOP

treatment program. 5




5
 It is uncontroverted that Petitioner has continued work to do in sex offender treatment. There is also a
concerning pattern noted by Dr. Obrermire that Petitioner is feeling the need to punish himself rather than
digging in and openly addressing the roots of his offending. Even items that could be viewed as pro-
social or empathetic, such as volunteering to mow in the rain so that a softball game could proceed, could
be viewed as attempts to punish himself, akin to the deprivation and excessive exercising noted by Dr.
Obermire.
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IV.    Legal Analysis in Light of Evidence Presented

       The Commissioner met the burden of demonstrating by clear and convincing evidence

that provisional discharge and discharge are not appropriate at this time according to the

statutory factors. However, the Panel cannot ignore the fact that this was due, in large part, to

the Commissioner’s failure to transfer him to a more open facility as ordered.

       The forensic examiners who evaluated Petitioner for this hearing opined that Petitioner

does not meet the statutory criteria for provisional discharge or discharge. Both Dr. Lovett and

Dr. Obermire opined that, for Petitioner in particular, a gradual reduction in custody is “critical,”

both for himself and for the public safety. Neither expert opined that Petitioner has progressed

far enough in treatment that outpatient sex offender treatment would be appropriate or that the

provisional discharge plan offered would provide a reasonable degree of protection to the public

and would enable Petitioner to adjust successfully to the community.

       Mr. Schiffer, the MSOP Clinical Courts Services Director, testified before the Panel. Mr.

Schiffer does not know Petitioner personally, but he read the SRB treatment reports, is familiar

with the CPS program at MSOP, and is part of the MSOP clinical leadership. Mr. Schiffer

explained that gradual deinstitutionalization and gradual reintegration are the purposes of CPS.

Mr. Schiffer further explained that CPS is designed as a residential location where clients can

practice the skills they have learned in sex offender treatment.

       The April 23, 2019 SRB Treatment Report indicated that Petitioner has gained

knowledge in sex offender treatment but he demonstrates inconsistent implementation of skills

learned. By the time of the March 24, 2020 SRB Treatment Report-Update, Petitioner’s progress

in treatment had started to wane, however, it was noted, to his credit by the report writer, that

Petitioner “shows a consistent willingness to comply with each directive or intervention asked of



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him, whether an informal staff request or part of an action plan.” Petitioner was not

demonstrating autonomy in applying interventions, a skill that will assist him at CPS. However,

Petitioner has not been afforded a timeline for when that skill may be needed at CPS.

       There was no testimony that the generic provisional discharge plan provided is

appropriate for Petitioner or would provide a reasonable degree of protection for the public.

Petitioner has a violent criminal history, with offenses that occurred within weeks of release or

while on parole for other offenses. Petitioner continues to minimize or justify his offending

behaviors, which were quite violent and possibly sadistic. Petitioner has not completed the

inpatient sex offender treatment at MSOP. There is no evidence that he has reached a point in

treatment where he is no longer dangerous to the public or has mitigated his risk of sexually

violent recidivism. There was no testimony of how the Department of Corrections (DOC)

supervision would interact with the DHS supervision, to provide additional layers of protection

to the public. (The client is on Intensive Supervised Release (ISR) through the DOC until 2026).

There was no testimony that the stages at CPS and the reintegration tiers on provisional

discharge are equivalent to the extent argued by Petitioner.

       The Panel considered all the evidence presented and determined that, for this particular

client, despite the patently unfair situation of the Commissioner’s failure to transfer him,

provisional discharge and discharge are not appropriate.

 V.    Due Process in the Current Circumstances

       Petitioner was granted transfer to CPS by Panel order dated January 28, 2018. The Order

became effective 15 days later, on February 10, 2018. To date, the Commissioner has not

transferred Petitioner to CPS, which directly impacted Petitioner’s ability to be successful in a

petition for a further reduction in custody.



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       The Panel is concerned not only about the Commissioner’s failure to transfer, but also by

the Commissioner’s cavalier attitude toward transfer and its failure to present a competent case

against provisional discharge and discharge. The exhibits offered were not well prepared and

consisted of many reports that were created after the fact, apparently to fill gaps in reports that

should have been written contemporaneously but were not. The questioning of the court

examiner devolved into a discussion of how she decided to not follow the official scoring manual

for actuarial instruments based on an informal discussion she had with one of the instrument’s

authors. This undermined the credibility of the witness and caused the Panel to question the

entire rationale of the opinion offered.

       Most troubling was the situation created by the Commissioner, essentially setting up a

self-fulfilling prophecy in its favor: clients are not ready for the next step of provisional

discharge because the program failed to transfer them or otherwise alter their programing in any

way to compensate for the fact that we were not going to transfer them in any meaningful

timeframe.

       There is nothing in the statute that requires transfer to the CPS program that MSOP has

created as the only option for MSOP clients. Minn. Stat. § 253D.29 (“Transfer may be to other

treatment programs under the commissioner's control.”) There is nothing in the statute that

requires building a new facility to fulfill the transfer requirements. Id. Transfer is an essential

underpinning of the entire statutory structure that allows for indeterminate commitment to a

highly secure facility, when no less secure options are made available to those civilly committed

as SDP/SPP. See Commitment of Ince, 847 N.W.2d 13, 28 (Minn. 2014) (Justice Page,

concurring).




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            The Courts assume that the civil commitment process operates as statutorily structured.

See Call v. Gomez, 353 N.W.2d 312, 318-19 (Minn. 1995). The ability to transfer to an open

facility is a statutory provision specifically enumerated by the Minnesota Supreme Court as

essential to the constitutional due process. See id., citing Blodgett, 510 N.W.2d 910, 916) (Minn.

1994) (holding that “once a person is committed, his or her due process rights are protected

through procedural safeguards that include…the opportunity to petition for transfer to an open

hospital”). The Panel process and the ability to transfer to a less secure facility were among the

“extensive process and protections” that allowed the Minnesota civil commitment structure to

withstand facial and as-applied challenges in federal court. See Karsjens v. Piper, 845 F.3d 394,

410-11 (8th Cir. 2017) (discussing the Minnesota Supreme Court’s due process analysis in Call

and Blodgett). The Panel finds the Commissioner’s assertion that the Panel can order transfer

but cannot enforce its order shocking. Id. at 410-11 (stating the “conscience shocking” standard

necessary for an as-applied challenge). The opportunity to petition for transfer is meaningless if

transfer does not occur. The Panel’s order for transfer became effective over two years ago. 6

The Panel further notes that Petitioner has been waiting five years on his petition for transfer. 7

Presently there is no timeline offered for when the Commissioner anticipates the transfer to

occur.

           Petitioner has brought a motion for contempt for failure to transfer, and the Panel will

address the failure to transfer by separate evidentiary hearing. The Panel notes that there could

exist situations where provisional discharge would be appropriate for other clients under the

statutory criteria or under a due process analysis, when there has been a failure to transfer as



6
    The Panel order for transfer was issued in file number AP16-9030.
7
    Petitioner’s petition for transfer to the SRB was made June 23, 2015, as found in file number AP16-9030.

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ordered. See Opiacha, supra. This is not such a case for Petitioner, given the specific treatment

needs, supervision needs, and public safety concerns presented.




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